                Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                                              Page 1 of 27

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW HAMPSHIRE, MANCHESTER DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                White Birch Brewing LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  460 Amherst St
                                  Nashua, NH 03063-1220
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Merrimack                                                      Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 460 Amherst St Nashua, NH 03063-1220
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                 Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                                                         Page 2 of 27
Debtor    White Birch Brewing LLC                                                                      Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7
                                          Chapter 9

                                        Chapter 11. Check all that apply:
                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                 less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow statement,
                                                                 and federal income tax return or if all of these documents do not exist, follow the procedure in 11
                                                                 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                    Case number
                                                District                                  When                                    Case number

10. Are any bankruptcy cases
    pending or being filed by a
                                       No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor                                                                        Relationship
                                                District                                  When                                Case number, if known




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 2
                Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                                                   Page 3 of 27
Debtor   White Birch Brewing LLC                                                                   Case number ( if known )
         Name


11. Why is the case filed in    Check all that apply:
    this district?
                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                            1,000-5,000                                 25,001-50,000
    creditors                                                                     5001-10,000                                 50,001-100,000
                                50-99
                                 100-199                                         10,001-25,000                               More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                 $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities        $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50       million              $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
                               Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                                                             Page 4 of 27


                Debtor White Birch gre*ing LLC                                                                              Case number (rtrnown)
                      -Mft-

                         Requestfor Relief, Declaration, and signatures
            I
                WARNING    -   Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprlsonment
                               for up to 20 years, or both. '18 U.S.C. SS 152, 1341 , 15'19, and 3571 .

                17. Declaration and signature
                   of authorized                    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                   representative of debtor
                                                    I have been authorized to file this petition on behalf of the debtor.
x


ir                                                  I have examined the information in   this petition and have a reasonable belief that the information is trued and correct.
,i

I                                                                                               foregoing is true and correct.




                                                {   /s/ David A. Herlicka                                                          David A. Herlicka
                                                                                                                                   Printed name

                                                    Title      Manager




                18. Signature of attorney       X   /s/ Marc L. Van De Water, Esq                                                   Date MaY 5, 2019
                                                    Signature of attorney for debtor                                                     MM/DD/YYYY

                                                    Marc L. Van De Water, Esq
                                                    Printed name
.:
                                                    Van De Water Law Offices, P.L.L.C.
                                                    Firm name
 i
    I




                                                    44 Albin Rd
                                                     Flnw Nll O??O4-?7O4
                                                    Number, Street, City, State & ZIP Code


                                                     Contact   phone (603) 647-5444                    Emailaddress senseilawyer@gmail.com

                                                     BNH01 769
                                                     Bar number and State




     !




        I




                 Official Form 201                              Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                     page 4
                    Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                                                              Page 5 of 27


        Fill in this information to identify the case:
 Debtor name White Birch Brewing LLC
 United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE,                                                                              Check if this is an
                                               MANCHESTER DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Adamian Realty                                                                                                                                                          $43,520.57
 Trust
 29 Mill St
 Arlington, MA
 02476-4733
 Amherst Label                                               Trade debt                                                                                                  $12,717.40
 15 Westchester Dr
 Milford, NH
 03055-3056
 Betty MacKillop                                                                                                $1,038,960.00                $400,648.31            $1,038,960.00
 355 Clarkesville
 Pond Rd
 Clarksville, NH
 03592-7209
 Chad Sylvestre                                                                                                 $1,038,960.00                $400,648.31            $1,038,960.00
 355 Clarkesville
 Pond Rd
 Clarksville, NH
 03592-7209
 Comcast Spotlight                                                                                                                                                       $19,961.90
 New England
 489 Washington St
 #2
 Auburn, MA
 01501-5709
 Corey Sylvestre                                                                                                $1,038,960.00                $400,648.31            $1,038,960.00
 355 Clarkesville
 Pond Rd
 Clarksville, NH
 03592-7209
 Derek Sylvestre                                                                                                $1,038,960.00                $400,648.31            $1,038,960.00
 355 Clarkesville
 Pond Rd
 Clarksville, NH
 03592-7209




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 2019 CINGroup - www.cincompass.com
                    Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                                                              Page 6 of 27


 Debtor    White Birch Brewing LLC                                                                           Case number (if known)
           Name

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Gabriel Sylvestre                                                                                              $1,038,960.00                $400,648.31            $1,038,960.00
 355 Clarkesville
 Pond Rd
 Clarksville, NH
 03592-7209
 Internal Revenue                                            940/941 taxes                                          $52,890.92               $400,648.31                 $52,890.92
 Service*
 PO Box 7346
 Philadelphia, PA
 19101-7346
 Jesse Cain                                                  loan                                                   $35,000.00                        $0.00              $35,000.00
 103 Pleasant St # 1F
 Concord, NH
 03301-3852
 Jordann Sylvestre                                                                                              $1,038,960.00                $400,648.31            $1,038,960.00
 355 Clarkesville
 Pond Rd
 Clarksville, NH
 03592-7209
 Liberty Utilities                                           Utility bill                                                                                                $13,925.22
 PO Box 1380
 Londonderry, NH
 03053-1380
 Louis P. Cote, Inc.                                         Trade debt                                                                                                  $12,724.95
 42 Cote Ave
 Goffstown, NH
 03045-2500
 Macy Industries                                                                                                                                                         $36,986.46
 5 Lehoux Dr
 Hooksett, NH
 03106-1836
 Mantis Funding,                                             loan                                                                                                        $12,910.00
 LLC
 187 Wolf Rd Ste 101
 Albany, NY
 12205-1138
 Parktown Trust                                                                                                 $1,038,960.00                $400,648.31            $1,038,960.00
 355 Clarkesville
 Pond Rd
 Clarksville, NH
 03592-7209
 Rebekah Sylvestre                                                                                              $1,038,960.00                $400,648.31            $1,038,960.00
 355 Clarkesville
 Pond Rd
 Clarksville, NH
 03592-7209
 Roger Sylvestre                                                                                                $1,038,960.00                $400,648.31            $1,038,960.00
 355 Clarkesville
 Pond Rd
 Clarksville, NH
 03592-7209


Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 2019 CINGroup - www.cincompass.com
                    Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                                                              Page 7 of 27


 Debtor    White Birch Brewing LLC                                                                           Case number (if known)
           Name

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Tyann Sylvestre                                                                                                $1,038,960.00                $400,648.31            $1,038,960.00
 355 Clarkesville
 Pond Rd
 Clarksville, NH
 03592-7209
 WebBank                                                                                                                                                                 $68,999.00
 215 S State St Ste
 1000
 Salt Lake City, UT
 84111-2336




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 2019 CINGroup - www.cincompass.com
             Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                                                            Page 8 of 27

                                                               United States Bankruptcy Court
                                                     District of New Hampshire, Manchester Division
 In re      White Birch Brewing LLC                                                                                   Case No.
                                                                                    Debtor(s)                         Chapter         11

                                                       LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                        Security Class Number of Securities                              Kind of Interest
 business of holder
 David A. Herlicka                                              Member                 68
 43 Danis Park Rd
 Goffstown, NH 03045-2687

 Jesse Cain                                                     Member                 8
 103 Pleasant St # 1F
 Concord, NH 03301-3852

 Parktown Trust                                                 Member                 3
 355 Clarkesville Pond Rd
 Clarksville, NH 03592-7209

 Robert Hebert                                                  Member                 3
 68 Whippoorwill Ln
 Bedford, NH 03110-5213

 Stephen Hersom                                                 Member                 18
 67 Lady Slipper Ln
 Manchester, NH 03109-5449


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date May 5, 2019                                                            Signature /s/ David A. Herlicka
                                                                                            David A. Herlicka

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 2019 CINGroup - www.cincompass.com
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                  Page 9 of 27




                   UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE
  In re: White Birch Brewing LLC                              CaseNo. 19-
         Debtor-in-Possession                                 Chapter 11



          The undersigned is The Manager of White Birch Brewing LLC, a manager-
  managed New Hampshire Limited Liability Company. On May 3, 2}lg the following
  resolution was duly adopted by the Members of this LLC.

         "WHEREAS, it is in the best interests of this LLC to f,rle a voluntary petition in
  the United States Bankruptcy Court pursuant to Chapter 11 of Title l l of the United
  States Code:

          '\iOW, THEREFORE, BE IT RESOLVED, that David Herlicka, in his capacity
  as Manager  of this LLC, be and hereby is, authorized and directed to execute and deliver
  all documents necessary to perfect the filing of a Chapter 11 voluntary bankruptcy case in
  the United States Bankruptcy Court on behalf of the LLC; and

          "BE IT FURTHER RESOLVED, that David Herlicka, in his capacrty as Manager
  of this LLC, be and hereby is, authorized and directed to appear in all such bankrupicy
  proceedings on behalf of the LLC, and to otherwise do and perform any and all acts and
  deeds and to execute and deliver all necessary documents on behalf of the LLC in
  connection with said bankruptcy proceedings;

          and "BE IT FURTHER RESOLVED, that David Herlicka, in his capacity as
  Manager of this LLC, be and hereby is, authorized and directed to employ Marc L. Van
  De Water of Van De Water Law Offices, PLLC, to represent the LLC in said bankruptcy
  proceedings."

    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OT A LLC

         I, David Herlicka, in my        tyas              the LLC named as debtor in this
  case, declare under penalty of perj    that)                foregoing resolution and it is
  true and correct to the best of my                             belief.


  Date: May 3,2019              Signature:
                                                                            AS
                                             Manager of White Birch Brewing LLC
     Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                   Page 10 of 27




 I
                                 UNITED STATES BANKRUPTCY COURT
 2                                  DISTRICT OF NEW HAMPSHIRE

 J     In   re:   White Birch Brewing LLC,                           Bk. No. 19-
                   Debtor-in-Possession                              Chapter l l
 4

 5                                STATEMENT OF' PARENT COMPAIYIES

 6
                         coMES Now white Birch Brewing LLC, by and through its Manager, David
 7
                  Herlicka, and does hereby respectfully submit the following statement pursuant to
 8
                  Administrative Order 1074-l (d):
 9
                         1.     White BirchBrewing LLC is aNewHampshire Limited Liability
t0
                  Company, with its principal place of business at460 Amherst Street, Nashua, New
11
                  Hampshire 03063.
t2
                         2.     White Birch Brewing LLC has no parent company, subsidiaries, trade
t3
                  names, or other names   it operates under.
t4

15


t6

t7
       Date
18


t9

20

2t

22

23

24

25
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 11 of 27
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 12 of 27
5/5/2019                   QuickStart|https://quickstart.sos.nh.gov/online/BusinessInquire/BusinessInformation?businessID=420831
              Case: 19-10622-BAH       Doc #: 1 Filed: 05/05/19 Desc: Main Document Page 13 of 27




                                                                                                (/online/Home/)      Back to Home (/online)


  Business Information
    Business Details
               Business Name: WHITE BIRCH BREWING LLC                                 Business ID: 611141
                                   Domestic Limited Liability
                 Business Type:                                                  Business Status: Good Standing
                                   Company
           Management Style: Manager Managed
                                                                                Name in State of
    Business Creation Date: 03/26/2009                                                           Not Available
                                                                                    Formation:
         Date of Formation in
                                03/26/2009
                  Jurisdiction:
   Principal Office Address: 460 Amherst Street, Nashua, NH,                    Mailing Address: 460 Amherst Street, Nashua, NH,
                             03063, USA                                                          03063, USA
         Citizenship / State of
                                Domestic/New Hampshire
                   Formation:
                                                                                      Last Annual
                                                                                                   2019
                                                                                      Report Year:
                                                                               Next Report Year: 2020
                       Duration: Perpetual
                Business Email: dave@whitebirchbrewing.com                                   Phone #: 603-244-8593
                                                                                   Fiscal Year End
            Notification Email: NONE                                                               NONE
                                                                                             Date:


    Principal Purpose

    S.No         NAICS Code                                                      NAICS Subcode

    1            OTHER / brewing beer
        Page 1 of 1, records 1 to 1 of 1




https://quickstart.sos.nh.gov/online/BusinessInquire/BusinessInformation?businessID=420831                                                    1/2
5/5/2019                  QuickStart|https://quickstart.sos.nh.gov/online/BusinessInquire/BusinessInformation?businessID=420831
             Case: 19-10622-BAH       Doc #: 1 Filed: 05/05/19 Desc: Main Document Page 14 of 27

    Principals Information

    Name/Title                                            Business Address

    David Herlicka A / Manager                            460 Amherst Street, Nashua, NH, 03063, USA
      Page 1 of 1, records 1 to 1 of 1




    Registered Agent Information

                       Name: Herlicka David A

           Registered Office 1339 Hooksett Rd, Hooksett, NH, 03106, USA
                   Address:

       Registered Mailing 1339 Hooksett Rd, Hooksett, NH, 03106, USA
                 Address:


    Trade Name Information

   No Trade Name(s) associated to this business.


    Trade Name Owned By

   No Records to View.


    Trademark Information

    Trademark Number Trademark Name                                        Business Address                   Mailing Address

                                                              No records to view.



            Filing History          Address History             View All Other Addresses            Name History          Shares

                             Businesses Linked to Registered Agent                   Return to Search           Back

                   NH Department of State, 107 North Main St. Room 204, Concord, NH 03301 -- Contact Us
                                                (/online/Home/ContactUS)
                                         Version 2.1 © 2014 PCC Technology Group, LLC, All Rights Reserved.




https://quickstart.sos.nh.gov/online/BusinessInquire/BusinessInformation?businessID=420831                                         2/2
    Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                                               Page 15 of 27
                                                                                                                                              
                                     State of New Hampshire                                                                Filed
                                                                                                                       Date Filed: 5/4/2019
                                                                                                                   Effective Date: 5/4/2019
                                          Department of State                                                        Business ID: 611141
                                                                                                                    William M. Gardner
                                          2019 ANNUAL REPORT                                                         Secretary of State




             BUSINESS NAME: WHITE BIRCH BREWING LLC                                                                                           
              BUSINESS TYPE: Domestic Limited Liability Company
                  BUSINESS ID: 611141
       STATE OF FORMATION: New Hampshire

           PREVIOUS PRINCIPAL OFFICE ADDRESS                                            PREVIOUS MAILING ADDRESS
1339 Hooksett Rd.                                                      1339 Hooksett Rd.
Hooksett, NH, 03106, USA                                               Hooksett, NH, 03106, USA

              NEW PRINCIPAL OFFICE ADDRESS                                                 NEW MAILING ADDRESS
460 Amherst Street                                                     460 Amherst Street
Nashua, NH, 03063, USA                                                 Nashua, NH, 03063, USA

                                                   REGISTERED AGENT AND OFFICE
              REGISTERED AGENT: Herlicka David A
REGISTERED AGENT OFFICE ADDRESS: 1339 Hooksett Rd Hooksett, NH, 03106, USA

                                                        PRINCIPAL PURPOSE(S)
                           NAICS CODE                                                           NAICS SUB CODE
                     OTHER / brewing beer

                                                 MANAGER / MEMBER INFORMATION
             NAME                                         BUSINESS ADDRESS                                              TITLE
David A Herlicka                    460 Amherst Street, Nashua, NH, 03063, USA                            Manager

I, the undersigned, do hereby certify that the statements on this report are true to the best of my information, knowledge and belief.


                                          Title: Manager
                                     Signature: David A Herlicka
                                Name of Signer: David A Herlicka




       Mailing Address - Corporation Division, NH Department of State, 107 North Main Street, Room 204, Concord, NH 03301-4989                    
                     Physical Location - State House Annex, 3rd Floor, Room 317, 25 Capitol Street, Concord, NH
                   Phone: (603)271-3246 | Fax: (603)271-3247 | Email: corporate@sos.nh.gov | Website: sos.nh.gov
                                                            - Page 1 of 1 -
            Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document                                    Page 16 of 27




                                                            United States Bankruptcy Court
                                                     District of New Hampshire, Manchester Division
 In re      White Birch Brewing LLC                                                                 Case No.
                                                                          Debtor(s)                 Chapter    11




                                             VERIFICATION OF CREDITOR MATRIX


         The above named debtor hereby certifies under penalty of perjury that the attached master mailing list of creditors,
consisting of 11 pages is complete, correct and consistent with the debtor’    s schedules pursuant to LBRs and assumes all
responsibility for errors and omissions.



 Date: May 5, 2019                                                          /s/ David A. Herlicka
                                                                            Debtor Signature
                                                                            David A. Herlicka
                                                                            Print Name
                                                                            Address 460 Amherst St
                                                                            Nashua NH 03063-1220
                                                                            Tel. No.




LBF 1007-2 (Eff. 11/1/16)
Software Copyright (c) 2019 CINGroup - www.cincompass.com
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 17 of 27




     Acadia Insurance
     1 Acadia Cmn
     Westbrook, ME 04092-3805


     Adamian Realty Trust
     29 Mill St
     Arlington, MA 02476-4733


     Agera Energy, LLC
     555 Pleasantville Rd Ste 107
     Briarcliff Manor, NY 10510-1955


     Alphagraphics
     97 Main St
     Nashua, NH 03060-2751


     Altus Global Trade Solutions
     2400 Veterans Blvd Ste 300
     Kenner, LA 70062


     American Beer Equipment
     1971 SW 6th St
     Lincoln, NE 68522-1730


     American Express
     c/o Becket & Lee, LLP
     PO Box 3001
     Malvern, PA 19355-0701
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 18 of 27




     Amherst Label
     15 Westchester Dr
     Milford, NH 03055-3056


     Andler Packaging
     375 3rd St
     Everett, MA 02149-4716


     Atlantic Importing
     attn. Sean Siegal
     350 Hopping Brook Rd
     Holliston, MA 01746-1458


     Beckett & Lee, LLP
     POB 3001
     Malvern, PA 19355-0701


     Betty MacKillop
     355 Clarkesville Pond Rd
     Clarksville, NH 03592-7209


     Capital For Merchants
     div. of North American Bancard, LLC
     250 Stephenson Hwy
     Troy, MI 48083-1117


     Chad Sylvestre
     355 Clarkesville Pond Rd
     Clarksville, NH 03592-7209
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 19 of 27




     Cintas Corporation
     200 Apollo Dr
     Chelmsford, MA 01824-3620


     Citizens Bank
     1 Citizens Dr.
     Riverside, RI 02915


     Comcast
     1701 John F Kennedy Blvd
     Philadelphia, PA 19103-2838


     Comcast Spotlight New England
     489 Washington St # 2
     Auburn, MA 01501-5709


     Corey Sylvestre
     355 Clarkesville Pond Rd
     Clarksville, NH 03592-7209


     Country Malt Group/Brewcraft USA
     PO Box 1529
     Vancouver, WA 98668-1529


     Craft Beer Guild, LLC
     300 West Rd # 4
     Portsmouth, NH 03801-5652
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 20 of 27




     Cynthia Marmonti
     311 State Route 101
     Amherst, NH 03031-1737


     David Herlicka
     43 Danis Park Rd
     Goffstown, NH 03045-2687


     Derek Sylvestre
     355 Clarkesville Pond Rd
     Clarksville, NH 03592-7209


     Eastern Bank
     1 Atwood Ln
     Bedford, NH 03110-6504


     Elizabeth C. Bassett, Esq.
     PO Box 475
     Hampton Falls, NH 03844-0475


     Eric Forcier, Esq.
     NH Bureau of Securities Regulation
     107 N Main St Rm 204
     Concord, NH 03301-4951


     Gabriel Sylvestre
     355 Clarkesville Pond Rd
     Clarksville, NH 03592-7209
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 21 of 27




     GrainCorp Malt - Great Western Malt/
     PO Box 1529
     Vancouver, WA 98668-1529


     Heritage Family Fed. CU
     30 Allen St.
     Rutland, VT 05701


     Hippo Press
     195 McGregor St Ste 325
     Manchester, NH 03102-3749


     Internal Revenue Service*
     PO Box 7346
     Philadelphia, PA 19101-7346


     Jason Collier
     73 French Rd
     Montpelier, VT     05602-9240


     Jay M. Niederman, Esq.
     Niederman, Stazel & Lindsey
     55 West Webster Street
     Manchester, NH 03104


     Jesse Cain
     103 Pleasant St # 1F
     Concord, NH 03301-3852
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 22 of 27




     John Kelly Trust
     1319 Hooksett Rd
     Hooksett, NH 03106-1845


     Jordann Sylvestre
     355 Clarkesville Pond Rd
     Clarksville, NH 03592-7209


     Juliaana DiGesu, Esq.
     Orr & Reno, PA
     45 S Main St
     Concord, NH 03301-4898


     Keg Credit, LLC
     9110 E Nichols Ave Ste 105
     Centennial, CO 80112-3450


     Kegstar
     600 B St Ste 300
     San Diego, CA 92101-4505


     Key Container
     PO Box 2370
     Pawtucket, RI     02861-0370


     Labelprint America
     8 Opportunity Way
     Newburyport, MA 01950-4043
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 23 of 27




     Lawrence M. Edelman, Esq.
     33 Capitol St
     Concord, NH 03301-6310


     Liberty Utilities
     PO Box 1380
     Londonderry, NH 03053-1380


     Louis P. Cote, Inc.
     42 Cote Ave
     Goffstown, NH 03045-2500


     Lydea Irwin, Esq.
     NH Bureau of Securities Regulation
     107 N Main St Rm 204
     Concord, NH 03301-4951


     Macy Industries
     5 Lehoux Dr
     Hooksett, NH 03106-1836


     Mantis Funding, LLC
     187 Wolf Rd Ste 101
     Albany, NY 12205-1138


     Matheson Tri-Gas dba Valley
     4080 S Willow St
     Manchester, NH 03103-2334
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 24 of 27




     Microstar
     2401 15th St Ste 200
     Denver, CO 80202-1186


     NH Bureau of Securities Regulation
     107 N Main St Rm 204
     Concord, NH 03301-4951


     NH Dept. of Revenue*
     Attn: Pierre O. Boisvert
     PO Box 454
     Concord, NH 03302-0454


     North American Bancard System
     250 Stephenson Hwy
     Troy, MI 48083-1117


     Office of the Ohio Attorney General
     Collections Enforcement Section
     150 E Gay St
     Columbus, OH 43215-3130


     Ohio Department of Taxation
     PO Box 530
     Columbus, OH 43126-0530


     PakTech
     1680B Irving Rd
     Eugene, OR 97402-9714
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 25 of 27




     Parktown Trust
     355 Clarkesville Pond Rd
     Clarksville, NH 03592-7209


     Professional Credit Service
     PO Box 1320
     Southgate, MI 48195-0320


     R.I. Distributing
     119 Hopkins Hill Rd
     West Greenwich, RI 02817-1709


     Rebekah Sylvestre
     355 Clarkesville Pond Rd
     Clarksville, NH 03592-7209


     Rehrig Pacific
     4010 E 26th St
     Los Angeles, CA      90058-4401


     Robert Hebert
     68 Whippoorwill Ln
     Bedford, NH 03110-5213


     Robert L. O'Brien, Esq.
     Schlee & Stillman, LLC
     PO Box 357
     New Boston, NH 03070-0357
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 26 of 27




     Roger Sylvestre
     355 Clarkesville Pond Rd
     Clarksville, NH 03592-7209


     Ross Express
     P.O. Box 8908
     Concord, NH 03303-8908


     SoPo Holdings, LLC
     913 Sawyer St
     Portland, ME 04106-6533


     Spinning Wheels Express
     152 Lynnway Ste 2-D
     Lynn, MA 01902-3462


     State of NH-Dept. Empl. Sec.*
     Attn: Arnold Rocklin-Weare
     45 S Fruit St
     Concord, NH 03301-2410


     State of NH-Dept. of Revenue
     45 Chenell Drive PO Box 454
     Concord, NH 03302


     Stephen Hersom
     67 Lady Slipper Ln
     Manchester, NH 03109-5449
Case: 19-10622-BAH Doc #: 1 Filed: 05/05/19 Desc: Main Document   Page 27 of 27




     Stone Path Malt LLC
     PO Box 703
     Wareham, MA 02571-0703


     Taste Profit Consulting, LLC
     24 Deborah Ln
     Dover, NH 03820-9128


     The Brewing Science Institute
     106 Glen Dale Dr
     Woodland Park, CO 80863-9092


     Tyann Sylvestre
     355 Clarkesville Pond Rd
     Clarksville, NH 03592-7209


     Victory Packaging
     355 Maple St
     Bellingham, MA 02019-3024


     WebBank
     215 S State St Ste 1000
     Salt Lake City, UT 84111-2336


     William S. Gannon, Esq.
     William S. Gannon, PLLC
     889 Elm St Fl 4
     Manchester, NH 03101-2019
